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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

 ANNA MATHAI                                                                  CIVIL ACTION
 VERSUS                                                                       NO:        12-2778
 BOARD OF SUPERVISORS                                                         SECTION: "R" (4)
 OF LOUISIANA STATE UNIVERSITY

                              SETTLEMENT CONFERENCE ORDER

        This case has been scheduled for a Settlement Conference. All lead counsel are ORDERED

TO APPEAR before the undersigned Magistrate Judge, United States Courthouse, Hale Boggs

Federal Building, 500 Poydras Street, Room B-437, New Orleans, Louisiana at 10:00 a.m. on

September 23, 2013.         COUNSEL MUST IMMEDIATELY CONTACT CHAMBERS WITH ANY

CONFLICTS.

        Each party shall email, in confidence, a concise position letter or memorandum outlining the

settlement position of the party, including the case number, case name, and be no longer than three

pages double spaced of the evidence the party expects to produce at trial at least two (2) days

before the conference. The email address is: efile-roby@laed.uscourts.gov.

The subject line should read: “12-2778R - 09/23/13 “(Plaintiff’s/Defendant’s) Position Paper”.

        It is the duty of the parties to notify the undersigned if this case is continued, settled, or otherwise

disposed of prior to the date of the scheduled settlement conference, so that the matter may be removed

from the Court's docket.

        Settlement Conferences are often unproductive, unless all counsel have authority to settle or

access to someone with authority to settle before the conference. Although optional during the initial

conference, participation of parties in addition to counsel would likely increase the efficiency and

effectiveness of the Settlement Conference. Therefore, counsel are encouraged to bring their clients to

participate in the conference.

                                                     New Orleans, Louisiana, this 8th day of March 2013




                                                         KAREN WELLS ROBY
                                                   UNITED STATES MAGISTRATE JUDGE
